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                         IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

EMPLOYEES RETIREMENT SYSTEM                   )    CASE NO. 2:20-CV-04813
OF THE CITY OF ST. LOUIS, et al.,             )
                                              )    CHIEF JUDGE ALGENON L. MARBLEY
                       Plaintiffs,            )
                                              )    MAGISTRATE JUDGE KIMBERLY A.
       v.                                     )    JOLSON
                                              )
                                              )
CHARLES E. JONES, et al.,                     )
                                              )    NOTICE OF APPEAL
                       Defendants.            )
       and                                    )
                                              )
FIRSTENERGY CORP.                             )
                                              )
                      Nominal Defendant.      )


       NOTICE is hereby given that the Special Litigation Committee (“SLC”) of the nominal

Defendant FirstEnergy Corp. (the “Company”) appeals to the United States Court of Appeals for

the Sixth Circuit the Order of the Honorable Algenon L. Marbley, Chief Judge of the United

States District Court for the Southern District of Ohio, entered on October 20, 2021 denying the

SLC’s Motion to Stay Litigation, ECF #142 (the “Order”), which was requested to allow the

SLC, acting on behalf of the Company, to conduct an independent investigation and exercise the

Company’s right under Ohio law to control the decision whether and under what circumstances

to assert claims on its own behalf.




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       The SLC seeks interlocutory appeal of the Order pursuant to 28 U.S.C. § 1291 under the

collateral order doctrine. Digital Equipment Corp. v. Desktop Direct, Inc., 511 U.S. 863, 867–68

(1994). The claims that derivative Plaintiffs purport to assert here (the “Claims”) belong to the

Company, not to the derivative Plaintiffs themselves, and under clear Ohio law, the Company,

acting by and through the SLC, is entitled to decide whether pursuit of the Claims is in the

Company’s best interests. See, e.g., Drage v. Procter & Gamble, 119 Ohio App. 19, 24 (Ohio

Ct. App. 1997); Holmstrom v. Coastal Indus., Inc., 645 F. Supp. 963, 964 (N.D. Ohio 1983). To

exercise its rights regarding the Claims, the Company formed the SLC, made up of independent

and disinterested directors appointed after the alleged wrongdoing, to make decisions regarding

the Claims on behalf of the Company. The SLC promptly moved to stay this action, as Ohio law

expressly contemplates, to permit it a reasonable time period to assess whether pursuit of

derivative claims would serve the Company’s best interest. Miller v. Bargaheiser, 70 Ohio App.

3d 702, 706–07 (Ohio App. Ct. 1990). The Order does not find that the SLC members lack

independence or are otherwise unable to exercise their independent judgment in the best interest

of the Company, and in fact recognizes that the SLC was created after the Company had

identified new independent board members. Moreover, the Order recognizes that Ohio law

provides that stays are typically granted to SLCs. Yet, the Order denies the Company its rights

based on a view that the SLC was formed too late, that there have been previous stays in the case

before the formation of the SLC, and that discovery has proceeded related cases, including

distinct criminal cases, notwithstanding the SLC’s immediate appeal of stay in the Northern

District and that no Ohio court has ever denied a stay where, as here, discovery has not yet even

commenced. Cf. In re BigLots Inc., S’holder Litig., 2017 WL 2215461 at *1 (S.D. Ohio May 19,




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2017) (granting a four-month stay even when the SLC was formed years after discovery

commenced).

       As a direct consequence of the Order, Claims that belong to the Company — and that the

SLC is empowered by Ohio law to control — now have two competing masters. The pursuit of

the Claims by derivative Plaintiffs before the SLC determines whether such action is in the best

interest of the Company risks harm to the interests of the Company and its stockholders and will

impose needless costs, burdens, and disorder.

       The Order is wholly separable from and collateral to the merits of the underlying Claims,

and meaningful appellate review of the Order at the end of litigation is impossible because the

Order allows derivative Plaintiffs to make litigation decisions on behalf of the Company before

the SLC is able to exercise its rights to determine the proper course of this litigation. See Cohen

v. Beneficial Indus. Loan Corp., 337 U.S. 541, 546 (1949).

       The SLC does not seek appellate review to cause delay and will seek an expedited

briefing schedule to ensure prompt resolution of the issues presented.


Dated: October 22, 2021                             Respectfully Submitted,


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                                 CERTIFICATE OF SERVICE

       I hereby certify that on October 22, 2021 a copy of the foregoing Notice of Appeal was

filed electronically. Notice of this filing will be sent by operation of the Court’s electronic filing

system to counsel of record for all parties as indicated on the electronic filing receipt. Parties

and their counsel may access this filing through the Court’s system.




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